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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ANDREW PERRONG, individually and on               :
 behalf of all others similarly situated,          :   Civil File No.
                                                   :
           Plaintiff,                              :
                                                   :
                                                   :   COMPLAINT – CLASS ACTION
 v.                                                :
                                                   :
 GBR FINANCIAL SERVICES, LLC                       :
                                                   :
           Defendant.                              :
                                                   :


                                      Preliminary Statement

          1.      As the Supreme Court has explained, “Americans passionately disagree about

many things. But they are largely united in their disdain for robocalls. The Federal Government

receives a staggering number of complaints about robocalls—3.7 million complaints in 2019

alone. The States likewise field a constant barrage of complaints. For nearly 30 years, the

people’s representatives in Congress have been fighting back. As relevant here, the Telephone

Consumer Protection Act of 1991, known as the TCPA, generally prohibits robocalls to cell

phones and home phones.” Barr v. Am. Ass'n of Political Consultants, 140 S. Ct. 2335, 2343

(2020).

          2.      The Plaintiff Andrew Perrong alleges that GBR Financial Services, LLC made

unsolicited pre-recorded telemarketing calls to Mr. Perrong and others without their prior express

consent.
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          3.      Because these calls were transmitted using technology capable of generating

  thousands of similar calls per day, he sues on behalf of a proposed nationwide class of other

  persons who received similar calls.

          4.      A class action is the best means of obtaining redress for the Defendant’s illegal

  telemarketing and is consistent both with the private right of action afforded by the TCPA and

  the fairness and efficiency goals of Rule 23 of the Federal Rules of Civil Procedure.

                                                Parties

          5.      Plaintiff Andrew Perrong is an individual residing in Pennsylvania in this District.

          6.      Defendant GBR Financial Services, LLC is a limited liability company in this

  District.

                                         Jurisdiction & Venue

        7.        The Court has federal question subject matter jurisdiction over these TCPA

claims. Mims v. Arrow Financial Services, LLC, 132 S. Ct. 740 (2012).

        8.        The Court has personal jurisdiction over Defendant because it is registered in this

District and made calls into this District.

        9.        Venue is proper under 28 U.S.C. § 1391(b) because the calls at issue were made

into this District.

                                         TCPA Background

          10.     In 1991, Congress enacted the TCPA to regulate the explosive growth of the

  telemarketing industry. In so doing, Congress recognized that “[u]nrestricted telemarketing . . .

  can be an intrusive invasion of privacy[.]” Telephone Consumer Protection Act of 1991, Pub. L.

  No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).


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The TCPA prohibits automated calls to cellular telephones and numbers charged per the call


        11.     The TCPA makes it unlawful “to make any call (other than a call made for

emergency purposes or made with the prior express consent of the called party) using an

automatic telephone dialing system or an artificial or prerecorded voice . . . to any telephone

number assigned to a . . . cellular telephone service . . . or any service for which the called party

is charged for the call.” See 47 U.S.C. § 227(b)(1)(A).

        12.     The TCPA provides a private cause of action to persons who receive calls in

violation of 47 U.S.C. § 227(b)(1)(A). See 47 U.S.C. § 227(b)(3).

        13.     According to findings by the Federal Communication Commission (“FCC”), the

agency Congress vested with authority to issue regulations implementing the TCPA, such calls

are prohibited because, as Congress found, automated or prerecorded telephone calls are a

greater nuisance and invasion of privacy than live solicitation calls, and such calls can be costly

and inconvenient.

        14.     The FCC also recognized that “wireless customers are charged for incoming calls

whether they pay in advance or after the minutes are used.” In re Rules and Regulations

Implementing the Tel. Consumer Prot. Act of 1991, CG Docket No. 02-278, Report and Order,

18 FCC Rcd 14014, 14115 ¶ 165 (2003).

        15.     In 2012, the FCC required prior express written consent for all autodialed or

prerecorded telemarketing calls (“robocalls”) to wireless numbers and residential lines.

Specifically, it ordered that:

        [A] consumer’s written consent to receive telemarketing robocalls must be signed
        and be sufficient to show that the consumer: (1) received “clear and conspicuous
        disclosure” of the consequences of providing the requested consent, i.e., that the

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       consumer will receive future calls that deliver prerecorded messages by or on behalf
       of a specific seller; and (2) having received this information, agrees unambiguously
       to receive such calls at a telephone number the consumer designates.[] In addition,
       the written agreement must be obtained “without requiring, directly or indirectly,
       that the agreement be executed as a condition of purchasing any good or service.”

In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 FCC

Rcd 1830, 1844 (2012) (footnotes omitted).



                                       Factual Allegations

       16.     GBR is a financial services firm.

       17.     To generate leads, GBR makes telemarketing calls to consumers who have never

had a relationship and who have never consented to receive their calls.

       18.     Plaintiff is, and at all times mentioned herein was, a “person” as defined by

47 U.S.C. § 153(39).

       19.     Plaintiff’s telephone number (the “Number”), (215)-947-XXXX, is a telephone

number assigned to a service that charges both per minute and per call.

       20.     The Number is also on the National and Pennsylvania Do Not Call Registries.

       21.     The service charges a ring charge of $0.005 for the provision of Caller ID Name

lookup information for each call placed to the Number, even if the call is not answered.

       22.     The service also charges a per-minute charge of $0.004 per minute for voice

charges for each minute of talk time, including voicemail time, for each call placed to the

Number.

       23.     The Plaintiff was charged $0.021 for the call.




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       24.     The Number is therefore “assigned to a . . . service for which the called party is

charged for the call” and any call placed to that number are subject to the restrictions enumerated

in 47 U.S.C. § 227(b)(1)(A)(iii).

       25.     Despite this, the Defendant placed a pre-recorded call to the Plaintiff on October

12, 2021.

       26.     The pre-recorded call played music after there was a silence on the line when the

Plaintiff answered.

       27.     GBR engages in this conduct so it can make en masse calling but then only have

its representatives talk to the individuals who answer and wait on the line.

       28.     After answering the call, “Angela,” who indicated that she was calling on behalf of

Gerald Rice, the owner of GBR, asked Mr. Perrong a series of questions in an effort to sell him

investment advisor services.

       29.     To confirm the entity responsible for the call, Mr. Perrong subsequently spoke to

Mr. Rice.

       30.     The call same from the Caller ID (724) 419-4107.

       31.     NoMoRobo, who won the FTC’s competition for tracking robocalls, as a

“robocaller”, has reported that Caller ID as a “robocaller”. See

https://www.nomorobo.com/lookup/724-419-4107 (Last Visited November 6, 2021).

       32.     Plaintiff’s privacy has been violated by the above-described telemarketing calls.

       33.     The Plaintiff never provided his consent or requested these calls.

       34.     Plaintiff and all members of the Class, defined below, have been harmed by the

acts of Defendant because their privacy has been violated, they were annoyed and harassed, and,


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in some instances, they were charged for incoming calls. In addition, the calls occupied their

telephone lines, rendering them unavailable for legitimate communication.


                                      Class Action Allegations

       35.     As authorized by Rule 23(b)(2) or (b)(3) of the Federal Rules of Civil Procedure,

Plaintiff brings this action on behalf of a Class of all other persons or entities similarly situated

throughout the United States.

       36.     The Class of persons Plaintiff proposes to represent is tentatively defined as:

       Robocall Class: Plaintiff and all persons within the United States: (1) to whose cellular
       telephone number or number charged for the call, Defendant, or a third party on their
       behalf, placed a call using pre-record messages (2) within the four years prior to the filing
       of the Complaint.

       37.     The Class as defined above is identifiable through phone records, phone number

databases, and business and customer records of Defendant.

       38.     Based on the en masse nature of telemarketing, the potential members of the Class

likely number at least in the thousands.

       39.     Individual joinder of these persons is impracticable.

       40.     The Plaintiff is a member of the class.

       41.     There are questions of law and fact common to Plaintiff and to the proposed

Class, including but not limited to the following:

               (a) whether Defendant used a pre-recorded message to make the calls;

               (b) whether Defendant made calls to Plaintiff and members of the Class without
                   first obtaining prior express written consent to make the calls; and

               (c) whether members of the Class are entitled to treble damages based on the
                   willfulness of Defendant’s conduct.


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       42.       Plaintiff’s claims are typical of the claims of members of the Class.

       43.       Plaintiff is adequate representative of the Class because his interests do not

conflict with the interests of the Class, he will fairly and adequately protect the interests of the

Class, and he is represented by counsel skilled and experienced in class actions, including TCPA

class actions.

       44.       Common questions of law and fact predominate over questions affecting only

individual class members, and a class action is the superior method for fair and efficient

adjudication of the controversy. The only individual question concerns identification of class

members, which will be ascertainable from records maintained by Defendant and/or their agents.

       45.       The likelihood that individual members of the class will prosecute separate

actions is remote due to the time and expense necessary to prosecute an individual case.


                                   FIRST CAUSE OF ACTION

                              Telephone Consumer Protection Act
                                (Violations of 47 U.S.C. § 227(b))
                          (On Behalf of Plaintiff and the Robocall Class)

       46.       Plaintiff repeats the prior allegations of this Complaint and incorporates them by

reference herein.

       47.       The foregoing acts and omissions of Defendant and/or its affiliates, agents, and/or

other persons or entities acting on Defendant’s behalf constitute numerous and multiple

violations of the TCPA, 47 U.S.C. § 227, by making calls, except for emergency purposes, with

a pre-recorded message to cellular telephone numbers or to numbers that are charged per the call.

       48.       The Defendant’s violations were negligent, willful, or knowing.




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       49.     As a result of Defendant’s and/or its affiliates, agents, and/or other persons or

entities acting on Defendant’s behalf’s violations of the TCPA, 47 U.S.C. § 227, Plaintiff and

members of the Class presumptively are entitled to an award of between $500 and $1,500 in

damages for each and every call made.

       50.     Plaintiff and members of the Class are also entitled to and do seek injunctive

relief prohibiting Defendant and/or its affiliates, agents, and/or other persons or entities acting on

Defendant’s behalf from making pre-recorded calls, except for emergency purposes, to any

cellular telephone number in the future.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the

following relief:

       A.      Injunctive relief prohibiting Defendant from making telephone calls advertising

their goods or services, except for emergency purposes, to any number using a pre-recorded

message.

       B.      As a result of Defendant’s negligent, willful and/or knowing violations of 47

C.F.R. § 64.1200(c), Plaintiff seeks for himself and each member of the Class up to treble

damages, as provided by statute, of up to $1,500 for each and every violation of the TCPA;

       C.      An order certifying this action to be a proper class action pursuant to Federal Rule

of Civil Procedure 23, establishing Class the Court deems appropriate, finding that Plaintiff is a

proper representative of the Class, and appointing the lawyers and law firms representing

Plaintiff as counsel for the Class;

       D.      Such other relief as the Court deems just and proper.


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                              JURY DEMAND

Plaintiff requests a jury trial as to all claims of the complaint so triable.


                                      Respectfully submitted,


                                      /s/ Jeremy C. Jackson
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